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   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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  11   ROGER M. KELLER,                            Case No. SACV 21-0976 CJC (RAO)
  12                       Petitioner,
  13          v.                                   ORDER ACCEPTING FINDINGS,
                                                   CONCLUSIONS, AND
  14   CRAIG KOENIG,                               RECOMMENDATIONS OF
                                                   UNITED STATES MAGISTRATE
  15                       Respondent.             JUDGE
  16

  17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, all of the
  18   records and files herein, and the Magistrate Judge’s Report and Recommendation.
  19   The time for filing objections to the Report and Recommendation has passed, and no
  20   objections have been received. Accordingly, the Court accepts and adopts the
  21   findings, conclusions, and recommendations of the Magistrate Judge.
  22          IT IS ORDERED that the Petition is denied, and Judgment shall be entered
  23   dismissing this action without prejudice.
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  25   DATED: October 18, 2021
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                                              CORMAC J. CARNEY
  27                                          UNITED STATES DISTRICT JUDGE
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